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     The Law Office of Olaf W. Hedberg
 1   Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
 2   Sacramento, California 95814
     (916) 447-1192 office
 3   1-412-774-3537 fax
     o.hedberg@sbcglobal.net
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 9        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                             CALIFORNIA

11
                                                       Case Number: 2:12-CR-0048 TLN
12   THE UNITED STAES OF AMERICA
                                                       STIPULATION AND ORDER FOR
13   V.                                                CONTINUANCE OF STATUS
                                                       CONFERENCE
14   PAVEL YAKIMENKO et al.

15                                                     DATE: 8/14/14
                                                       TIME: 9:30 a.m.
16                                                     JUDGE: Hon. Troy L. Nunley
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20          Plaintiff United States of America, by and through its counsel of record, and the
21   defendants, by and through each counsel of record, hereby stipulate as follows:
22          1.       By this stipulation, the defendants now move to continue the status conference
23   until August 14, 2014, at 9:30 a.m., and to exclude time between June 19, 2014, and August 14,
24   2014, under Local Code T4. Plaintiff does not oppose this request.
25
            2.       The parties agree and stipulate, and request that the Court find the following:

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 1          a.       The government has provided additional discovery from other cases associated

 2   with this case that consists of more than 10,000 pages of investigative reports and related

 3   documents in electronic form. All of this discovery has been either produced directly to counsel
 4   and/or made available for inspection and copying.
 5          b.       Counsel for the defendants desire additional time to consult with their respective
 6   clients, to review the current charges, to conduct investigation and research related to the
 7   charges, to review and copy discovery for this matter, to discuss potential resolutions with their
 8   clients, to prepare pretrial motions, and to otherwise prepare for trial.
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            c.       Counsel for the defendants believe that failure to grant the above-requested
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     continuance would deny them the reasonable time necessary for effective preparation, taking into
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     account the exercise of due diligence.
12
            d.       The government does not object to the continuance.
13
            e.       Based on the above-stated findings, the ends of justice served by continuing the
14
     case as requested outweigh the interest of the public and the defendants in a trial within the
15
     original date prescribed by the Speedy Trial Act.
16
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
17
     et seq., within which trial must commence, the time period of June 19, 2014, to August 14,
18
     2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
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     T4] because it results from a continuance granted by the Court at defendant’s request on the basis
20
     of the Court's finding that the ends of justice served by taking such action outweigh the best
21
     interest of the public and the defendants in a speedy trial.
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            4.       Nothing in this stipulation and order shall preclude a finding that other provisions
23
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
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     which a trial must commence.
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 2   IT IS SO STIPULATED

 3   Respectfully submitted June 16, 2014:
 4   /s/ Olaf W. Hedberg
     Olaf W. Hedberg
 5
     Attorney for Pavel Yakimenko
 6
     /s/David Fischer
 7    David Fischer
     Attorney for Nikolay Yakimenko
 8
     /s/Stanley Kubochi
 9    Stanley Kubochi
     Attorney for Yuriy Kaltachi
10
     /s/Timothy Zindel
11
     Timothy Zindel
12
     Attorney for Svetlana Kramarenko

13   /s/ Michele Beckwith
      Michele Beckwith
14   Assistant United States Attorney

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                                                 ORDER
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            GOOD CAUSE APPEARING, it is hereby ordered that the June 19, 2014 status
 3   conference be continued to August 14, 2014 at 9:30 a.m. I find that the ends of justice warrant
 4   an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
 5
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (ii) and
 6
     Local Code T4 from the date of this order to August 14, 2014.
 7   IT IS SO ORDERED.
 8
     Dated: June 19, 2014
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                                                    Troy L. Nunley
12                                                  United States District Judge

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